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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


                                                      Case No: 1:18-cv-04252
ANISH KAPOOR,
                                                      DECLARATION OF M. JAKE FEAVER
                Plaintiff,
                                                      Judge John Z. Lee
       v.
                                                      Magistrate Judge Daniel G. Martin
NATIONAL RIFLE ASSOCIATION
OF AMERICA.

                Defendant.



       I, M. Jake Feaver, declare as follows:

       1.       I submit this declaration in support of Anish Kapoor’s Opposition to Motion to

Transfer to the Eastern District of Virginia.

       2.       I am an associate in the law firm Phillips, Erlewine, Given & Carlin LLP, which

represents plaintiff Anish Kapoor. I am a member in good standing of the California bar. I have

personal, first-hand knowledge of the matters set forth herein and, if called to testify as a witness,

could and would testify competently thereto.

       3.       The National Rifle Association of America (“NRA”) is a not-for-profit

corporation and foreign corporation in good standing and authorized to conduct affairs in the

state of Illinois. A true and correct copy of its certificate of good standing is attached hereto as

Exhibit A.

       4.       The NRA’s agent for service of process in Illinois is Illinois Corporation Service

Company. A true and correct screenshot of the Illinois Secretary of State’s webpage is attached

as Exhibit B.




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       5.      The NRA’s website lists two “Senior Field Representatives” serving Illinois:

Michael F. Huber, and Donald Higgs. Attached hereto as Exhibit C is an excerpt of a true and

correct copy of the NRA’s field representative webpage as of Sept. 10, 2018.

       6.      The Illinois State Rifle Association is a not-for-profit corporation organized under

the laws of Illinois and authorized to conduct affairs in the state. A true and correct copy of its

certificate of good standing is attached hereto as Exhibit D.

       7.      The NRA’s recruitment page, membership.nra.org, offers a selection from four

membership terms: $30 for one year, $55 for two years, $75 for three years, and $100 for five

years. When given the opportunity to select a state of residence for the purchase, Illinois is listed

as one of the options. Attached hereto as Exhibit E is a true and correct screenshot of the

membership purchase page.

       8.      The NRA’s website states that state associations such as the Illinois State Rifle

Association, “are eligible to apply for funding from the National Rifle Association through the

State Association Grant Program. This program is specifically designed to support such projects

as purchasing office equipment, paying for staff, printing a newsletter, building/enhancing a

website and other expenses.” Attached hereto as Exhibit F is a true and correct copy of

stateassociations.nra.org.

       9.      The NRA has posted “The Violence of Lies,” on its official NRA YouTube page

twice, once on Apr. 7, 2017 and once on Jun. 30, 2017. The videos have been viewed at least a

combined 4,814,344 times. Attached hereto as Exhibit G are true and correct screenshots of the

two YouTube videos as of Sept. 10, 2018.




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Dated: September 14, 2018                   M. Jake Feaver
                                            M. Jake Feaver




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 14, 2018, a copy of the foregoing was electronically

filed in the ECF system. Notice of this filing will be sent to the parties of record by operation of

the Court’s electronic filing system. Parties may access this filing through the court’s system.



                                              /s/ M. Jake Feaver




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